Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 1 of 28 PageID #: 2929
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 2 of 28 PageID #: 2930
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 3 of 28 PageID #: 2931
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 4 of 28 PageID #: 2932
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 5 of 28 PageID #: 2933
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 6 of 28 PageID #: 2934
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 7 of 28 PageID #: 2935
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 8 of 28 PageID #: 2936
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 9 of 28 PageID #: 2937
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 10 of 28 PageID #: 2938
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 11 of 28 PageID #: 2939
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 12 of 28 PageID #: 2940
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 13 of 28 PageID #: 2941
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 14 of 28 PageID #: 2942
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 15 of 28 PageID #: 2943
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 16 of 28 PageID #: 2944
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 17 of 28 PageID #: 2945
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 18 of 28 PageID #: 2946
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 19 of 28 PageID #: 2947
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 20 of 28 PageID #: 2948
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 21 of 28 PageID #: 2949
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 22 of 28 PageID #: 2950
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 23 of 28 PageID #: 2951
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 24 of 28 PageID #: 2952
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 25 of 28 PageID #: 2953
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 26 of 28 PageID #: 2954
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 27 of 28 PageID #: 2955
Case 3:11-cr-00083   Document 676   Filed 04/16/14   Page 28 of 28 PageID #: 2956
